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 4
   Attorney for:
 5 MICHAEL HUDDLESTON

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 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:12-CR-00313 TLN
12                               Plaintiff,                STIPULATION AND ORDER
                                                           CONTINUING JUDGMENT AND
13   v.                                                    SENTENCING
14   MICHAEL HUDDLESTON, et. al.,
15                               Defendants,
16

17                                             STIPULATION
18          Plaintiff, United States of America, by and through its counsel of record, and defendant,
19
     MICHAEL HUDDLESTON, by and through his counsel of record, hereby stipulate that judgment
20
     and sentencing, currently scheduled for March 6, 2014, may be continued to May 1, 2014, at 9:30
21
     a.m.   The United States Probation Department is in the process of preparing the Preliminary
22

23 Presentence Investigation Report and the additional time requested is necessary for the parties to

24 comply with the disclosure schedule. The parties further stipulate that the disclosure schedule may

25 be modified as set forth below:
26          Proposed Pre-Sentence Report Disclosed:                    March 20, 2014
27
            Written Objections to Probation Officer:                   April 3, 2014
28
                                                       1
29

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            Pre-Sentence Report Filed with the Court:                 April 10, 2014
 1
            Motion for Correction to PSR:                             April 17, 2014
 2

 3          Reply or Statement of Non-Opposition:                     April 24, 2014

 4          Judgment and Sentencing:                                  May 1, 2014, at 9:30 a.m.
 5          The United States Probation Department has been consulted about this continuance and has
 6
     no objection.
 7
            Counsel for the government has reviewed this stipulation and proposed order and has
 8
     authorized counsel for MICHAEL HUDDLESTON to sign and file it on his behalf.
 9

10

11 IT IS SO STIPULATED.

12 DATED:            February 28, 2014   /s/Jared Dolan
                                         Jared Dolan
13                                       Assistant United States Attorney
14 DATED:            February 28, 2014   /s/Scott Cameron
                                         Scott Cameron
15                                       Attorney for Michael Huddleston
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17
                                                ORDER
18

19          IT IS SO ORDERED this 3rd day of March, 2014.
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23                                                  Troy L. Nunley
24                                                  United States District Judge

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